Case: 4:02-cr-00273-DCN Doc #: 216 Filed: 10/06/05 1 of 8. PageID #: 32




 DOWD, J.

                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

 Luis M. Valdez,                                      )
                                                      )     CASE NO. 4:05 CV 1672
                 Petitioner-Defendant                 )     CASE NO. 4:02 CR 273
                                                      )
         v.                                           )     MEMORANDUM OPINION
                                                      )
 United States of America,                            )
                                                      )
                 Respondent-Plaintiff                 )
                                                      )

                                               I. Introduction

         The petitioner has filed a pro se motion petitioning the Court to adjust his sentence under the

 provisions of Rule 60(b). The Court has directed that the case be considered under the provisions of

 28 U.S.C. §2255 and as an application to vacate, set aside or correct the petitioner’s sentence. The

 government filed a brief in opposition (Docket No. 5) and the petitioner has filed a reply (Docket No.

 6).

                         II. The History Leading to the Petitioner’s Incarceration

         The petitioner was indicted for conspiracy to possess with intent to distribute powder cocaine

 on July 2, 2002. After a jury was impaneled to try the case, the petitioner entered a plea of guilty to the

 crime of conspiracy, pursuant to a written plea agreement, which set the amount of the cocaine

 attributable to the petitioner as in excess of 3 kilograms. As a consequence, the petitioner was facing a

 mandatory minimum sentence of 60 months under the provisions of 21 U.S.C. § 841(b)(B)(ii). The

 written plea agreement (Docket No. 154) indicated that the quantity of cocaine, specified as 3,926.3
Case: 4:02-cr-00273-DCN Doc #: 216 Filed: 10/06/05 2 of 8. PageID #: 33




 (4:02 CR 273)

 grams of cocaine, would result in an offense level of 301; that the government would agree to a

 reduction in the base offense level of two levels for acceptance of responsibility in spite of the fact that

 the jury has already been impaneled; that the government was in agreement that no specific offense

 characteristics were appropriate to raise the offense level; and further agreed that the petitioner might

 qualify for a two level safety valve reduction and if so, that the offense level would be 26. There was

 no agreement on the criminal history, but it was subsequently determined that the petitioner’s criminal

 history was I and the petitioner was found by the Court to qualify for the safety valve reduction.

         The Offense Level of 26 with a criminal history of I called for a sentencing range of 63 to 78

 months. The Court sentenced the petitioner to a sentence of 66 months. The petitioner did not file a

 direct appeal.

         Paragraph 122 of the Plea Agreement provided as follows:

                Defendant’s rights, in limited circumstances, to appeal the conviction or
         sentence in this case, including the appeal right conferred by 18 U.S.C. §3742, and to


         1
          Paragraph 12 in the Plea Agreement is entitled Factual Basis and provides:

                  The defendant states that from a time unknown, but at least as early as
         February 2002 and continuing through June 4, 2002, that he possessed with the intent
         to distribute 3,926.3 grams of cocaine in concert with one or more of the other
         members of the conspiracy as set forth in Count 1 of the indictment. The defendant
         further states that on June 4, 2002, officers from DEA lawfully seized approximately the
         3,926.3 grams of cocaine secreted in a compartment in a Nissan Sentra in which the
         Defendant and/or members of the conspiracy had transported from New York to the
         Northern District of Ohio. The defendant states he jointly possessed the cocaine with
         the intent to distribute it. Finally, the Defendant states that he is pleading guilty to Count
         1 because he is, in fact, guilty of the offense conduct set forth in Count 1.
         2
          Inexplicably, the written Plea Agreement has two paragraphs numbered 12.

                                                       2
Case: 4:02-cr-00273-DCN Doc #: 216 Filed: 10/06/05 3 of 8. PageID #: 34




 (4:02 CR 273)

           challenge the conviction or sentence collaterally through the post-conviction
           proceeding, including a proceeding under 28 U.S.C. §2255. To the degree permitted
           by the Ohio Code of Professional Responsibility, which governs both prosecutors and
           defense attorneys, Defendant expressly waives those rights, except as reserved below.
           Defendant reserves the right to appeal: (a) any punishment in excess of the statutory
           maximum; (b) any punishment to the extent it constitutes an upward departure from the
           Sentencing Guideline range deemed most applicable by the Court. Nothing in this
           paragraph shall act as a bar to the defendant perfecting any legal remedies he may
           otherwise have on appeal or collateral attack respecting claims of ineffective assistance
           of counsel or governmental misconduct.

             III. The Petitioner’s Miscellaneous Assertions in Support of a Corrected Sentence

           The petitioner cites Booker/Fanfare in support of a reduced sentence. However, the

 mandates of Booker/Fanfare are not retroactive in the context of applications brought pursuant to a

 habeas action sounding under Section 2255.

           The petitioner also cites the advanced age of his parents and the fact that his three minor

 children are in need for the care, support and love of their father.

           The petitioner also cites the fact that he has enrolled in B.O.P. programs to better his

 opportunity to become a successful person after incarceration. Unfortunately, the Court has no power

 to revisit the sentencing of the petitioner based on his parental and parenting responsibilities, nor may

 the Court modify a sentence based on the successful completion of programs offered by the B.O.P.

 even though the Court finds commendable the petitioner’s efforts to prepare himself for the return to his

 family.




                                                        3
Case: 4:02-cr-00273-DCN Doc #: 216 Filed: 10/06/05 4 of 8. PageID #: 35




 (4:02 CR 273)

              IV. The Petitioner’s Claim of the Denial of the Effective Assistance of Counsel

         The Court construes the pro se petition to raise a claim of the ineffective assistance of counsel

 in the context of the sentencing in the following passage:

                  The petitioner, was sentenced to 66 months in prison on February 23rd, 2003.
         During the sentence the Honorable Judge made a unique and unusual offer to myself as
         well as the remaining defendants of such case. The offer made by the judge was as
         follows: Waive their right’s to remain in the United States, via accepting deportation
         without asserting due process rights by hearing(s), i.e., trial and he the judge will reward
         the defendants an additional 1 level decrease (departure). Although this offer showed
         wisdom and perhaps fairness, the judge clearly made a legal error in his offer when he
         requested that their due process right’s (Rules) be violated. The attitude of the
         defendant’s counsel could have been considered outrageous when he adamently and
         inexplicably recommended the petitioner (his client) to reject such an offer. The
         counsel promised the petitioner that he would attempt a more productive and legal way
         to get such departure, in which he failed to even attempt after all this time.
         (Emphasis added).

         The court has ordered a transcript of the sentencing of petitioner-defendant Valdez. A copy of

 the transcript is attached to this Order.

         As indicated in the transcript of the sentencing hearing, the petitioner-defendant Valdez was

 facing a mandatory minimum sentence of 120 months absent the application of the safety valve . The

 court resolved that issue in favor of Valdez. As a consequence, the offense level was reduced to 26,

 with a criminal history category of I. As a consequence the sentencing range was 63 to 78 months.

 The government argued for a sentence of 78 months. Defendant's counsel then argued for a sentence

 of 63 months, commenting on defendant's family situation. Before the court pronounced the sentence,

 Valdez was given the opportunity to speak and he stated as follows:




                                                      4
Case: 4:02-cr-00273-DCN Doc #: 216 Filed: 10/06/05 5 of 8. PageID #: 36




 (4:02 CR 273)

                 A.     Okay. First of all, I'd like to wish a good morning to
                 everybody who's here, and I want to express to Your Honor that I
                 know I'm guilty of what I've been accused.

                         And so I've accepted my responsibility.

                         The only thing I hope for is that God will touch your heart so
                 that he will allow me to be with my children, my son, as soon as
                 possible.

                         THE COURT: I didn't hear the last thing he said.

                         A. So with that I ask you that you give me the lowest sentence.

         Against that admission of guilt, Valdez has filed a reply brief to support his motion to reduce his

 sentence and claims that his lawyer was "deficient and his professional ethics was deplorable and

 unscrupulous." In support of that claim Valdez states as follows:

         1.      Mr. Adamson contacted my wife and convinced her that he will win the case.
         Mr. Adamson played with and manipulated my wife's mental condition offering her his
         services to represent petitioner.

         2.      Mr. Adamson knew important issues about petitioner'''s case enough to
         convince my wife and myself to get hired. Mr. Adamson said that the labe (sic) report
         was the key to win the case but he never requested to have it done again and he never
         challanged (sic) it either.

         3.      Mr. Adamson did not prepare himself to go to trial. Mr. Adamson took the
         case twenty days earlier if he had any intention to win, he could have postponed the
         trial.

         4.       Mr. Adamson real goal was to take the money from my wife. Mr. Adamson
         got paid November 22, 2002, and two days later, on a Sunday night, he communicated
         to Petitioner he was done.

         Mr. Adamson greediness and unethical professional attitude not only left Petitioner's
         wife broke and devastated, he also made Petitioner waste several opportunities to


                                                      5
Case: 4:02-cr-00273-DCN Doc #: 216 Filed: 10/06/05 6 of 8. PageID #: 37




 (4:02 CR 273)

         negotiate with the government's representative who was willing to get this case done
         and there was a very good probability to have a better negotiation and there was
         another person who suffer the consequences of his performance, this person was Juan
         Valdez, Petitioner's brother. Even the government admitted that Juan Valdez minimum
         involvement in the case and he had nothing to do with this as we "conspirators"
         declared that Juan was there without knowing what was going on. So when Petitioner
         signed the plea agreement, it was too late for Juan to withdraw from trial and this
         guiltyness is going to be with me forever since I was the one who invited Juan to drive
         his new van for a long ride. But going back with Mr. Adamson, during sentencing when
         the Honorable judge offered me the opportunity to sign deportation in exchange,
         Petitioner was getting one point downward. Inexplicably Mr. Adamson made
         Petitioner refuse being again prejudicial to my cause.

                  In conclusion, Mr. Adamson did not render adequate assistance. Mr.
         Adamson did not meet the requirements needed to be an officer of the court when his
         main duty was to be mediator, something he began doing after he got paid. Actually, if
         Mr. Adamson wouldn't have appeared, the results of the proceedings would had been
         different.

                 Petitioner is aware and is very thankful that his case and his sentence was
         handled with fairness. Petitioner made a bad choice when he let himself get involved
         with drugs. The main intention throug (sic) this motion is to get a reduction of his
         sentence. Petitioner is confidence (sic) that the fairness and wisdom showed by the
         Honorable Judge will prevail. Petitioner needs an opportunity to show his ailment
         parents that all the good example, moral and humility that Petitioner received when he
         was growing up still is in his heart. I ask again for forgiveness for participating to
         damage and hurt the society of this wonderful country. Petitioner needs to be back in
         his homeland and help his faithful wife take care of his old parents and children.

                 For the reasons mentioned above, Petitioner's motion to reduce his sentence
         should be granted.

                                            V. The Court's Ruling

         The defendant's claim that he was offered a one level reduction in the offense level if he would

 accept deportation without asserting due process rights is not reflected in the transcript of the

 sentencing hearing. After considering the allegations of the pro se petitioner in a light most favorable to


                                                      6
Case: 4:02-cr-00273-DCN Doc #: 216 Filed: 10/06/05 7 of 8. PageID #: 38




 (4:02 CR 273)

 the petitioner, the court finds that a claim that the petitioner was denied the effective assistance of

 counsel is not warranted. The petitioner admitted at his sentencing that he was guilty. A review of the

 sentencing transcript indicates that petitioner's counsel successfully persuaded the court to grant Valdez

 the safety valve credit which decreased his sentence from the mandatory minimum of 10 years to a

 sentence of 66 months. Most of the claims advanced by the petitioner relate to the question of his guilt.

 Valdez admitted his guilt. Under the teachings of Strickland v. Washington, 466 U.S. 668, 687 (1984),

 the petitioner must show that he was denied the effective assistance of counsel and that the denial

 negatively affected the outcome of the case.3 Given the petitioner's admission of guilt, and his counsel's

 successful prosecution of the safety valve issue, the court finds that petitioner's claims of ineffective

 assistance of counsel from the standpoint of a request for resentencing are not warranted.4


         3
          The pivotal teaching in Strickland states:
                 "A convicted defendant's claim that counsel's assistance was so defective as to
                 require reversal of a conviction or death sentence has two components. First,
                 the defendant must show that counsel's performance was deficient. This
                 requires showing that counsel made errors so serious that counsel was not
                 functioning as the "counsel" guaranteed the defendant by the Sixth Amendment.
                 Second, the defendant must show that the deficient performance prejudiced the
                 defense. This requires showing that counsel's errors were so serious as to
                 deprive the defendant of a fair trial, a trial whose result is reliable. unless a
                 defendant makes both showings, it cannot be said that the conviction or death
                 sentence resulting in the breakdown of the adversary process that renders the
                 result unreliable."
         4
            Valdez claims that the court, in some fashion, suggested that Valdez waive his right to a
 deportation hearing, and accept deportation, in return for a one level reduction of the offense level. The
 transcript of the sentencing hearing indicates that the court conferred with counsel in a side bar
 conference at the beginning of a sentencing hearing. The court has no recollection as to the discussion
 in the side bar conference. The court does have a vague recollection that at one time with respect to
                                                                                                (continued...)

                                                        7
Case: 4:02-cr-00273-DCN Doc #: 216 Filed: 10/06/05 8 of 8. PageID #: 39




 (4:02 CR 273)

         The court will publish a separate Judgement Entry denying the petitioner's request for

 resentencing.

         IT IS SO ORDERED.




 October 5, 2005                                   /s/ David D. Dowd, Jr.
 Date                                            David D. Dowd, Jr.
                                                 U.S. District Judge




         4
           (...continued)
 the sentencing of an alien, that there was discussion about a reduction in the offense level conditioned
 upon a waiver of any rights of the alien with respect to deportation. However, the court has no
 independent recollection as to whether such a discussion took place with respect to Valdez. From a
 hypothetical standpoint, if such a reduction in the offense level from 26 to 25 had taken place, Valdez
 would still have faced a mandatory minimum sentence of 60 months notwithstanding a Guideline range
 of 57 to 71 months. The issue is whether the court should conduct an evidentiary hearing on such a
 possibility; i.e., the suggestion of a downward adjustment of one level in return for a waiver of
 deportation. Under all the circumstances as outlined above, the court declines to schedule and conduct
 such an evidentiary hearing.

                                                    8
